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                                                                                               Alina Habba, Esq.
                                                                                              Managing Partner
                                                                                         ahabba@habbalaw.com
                                                                                 Admitted to practice in NJ, NY & CT




                                                                                October 4, 2022

VIA ECF
The Honorable Lewis A. Kaplan, U.S.D.J.
United States District Court
Southern District of New York
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, New York 10007

       Re:      Carroll v. Trump
                Civil Case No.: 1:20-cv-7311-LAK-JLC

Dear Judge Kaplan:

       This office represents the defendant, former President Donald J. Trump (“Defendant”), in
the above-referenced action. I write in connection with Defendant’s letter motion to stay (the
“Motion”) (ECF Nos. 92-94) which has fully-briefed and is currently pending before the Court.

         As noted by both sides in their motion papers, the parties have numerous depositions
scheduled between today and Wednesday, October 19. While Defendant remains ready and eager
to sit for his deposition, we believe that it would be a waste of the parties’ time and resources to
engage in such intensive discovery proceedings while a motion to stay is pending and a dispositive
issue is yet to be resolved.

        Given the time-sensitive nature of this issue, we would respectfully request that Your
Honor set a telephonic conference with the parties at the earliest available time to discuss the status
of this matter.

                                                   Respectfully submitted,




                                                   Alina Habba, Esq.
                                                   For HABBA MADAIO & ASSOCIATES LLP

cc: All Counsel of Record (via ECF)




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